Case 2:13-cv-02008-MMB Document1 Filed 04/16/13 Page 1 of 37

JS 44 (Rev. 12/12)

provided by local rules of court. This form, approved by the Judicial Conference of the

CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as

purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM}

nited States in September 1974, is required for the use of the Clerk of Court for the

 

I. (a) PLAINTIFFS
James Porter & Marilynn Sankowski

(b) County of Residence of First Listed Plaintiff

Hot Springs, AR

(EXCEPT IN US. PLAINTIFF CASES)

(¢) Attorneys (Finn Name, Address, and Telephone Number)
Brian J. Zeiger, Esg., 123 S. Broad St., Ste 1200, Phila., PA 19108

215-825-5183

DEFENDANTS

NOTE;

Altorneys (if Known)
Anne B. Taylor

 

County of Residence of First Listed Defendant

City of Phila., B. Deeley, D. Stewart, E. Chew, W. Bengochea,
G. Busillo, J. McCarrie, A. Brown & P, Washington

Philadelphia

(IN US. PLAINTIFF CASES ONLY}

IN LAND CONDEMNATION CAS
THE TRACT OF LAND INVOLVED.

BS. USE THE LOCATION OF

 

Il. BASIS OF JURISDICTION (Place an “X" in One Box Only)

 

(For Diversity Cases Only)

 

ILL. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X" in One Box for Plaintiff

and Que Box for Defendant)

 

 

 

 
 

 

 

 

   

 

 

 

  

 

 

  

    
   

   

 

 

 

 

 

O 1 US. Government 3° Federal Question PTF DEF PTF DEF
Plaintift (CLS. Gavermment Noi a Party) Citizen of This State O 1 © 1 Incorporated or Principal Place o4 a4
of Business In This State
O2 U.S. Government G4 Diversity Citizen of Another State 02 © 2 Incorporated avd Principal Place o5 O85
Defendant (indicate Citizenship of Parties in Hem HI) of Business In Another Statc
Citizen or Subject ofa GO3 © 3 Forcign Nation O6 6
Farcign Country
IV. NATURE OF SUIT {Place an “X" in One Box Only}
2B CONTRACTS TORTS 256: FORFEITURE/PENALTY: ‘BANKRUPTC
CG 110 Insurance PERSONAL INJURY PERSONAL INJURY =| 625 Drug Related Seizure O 422 Appeal 28 USC 158 OG 375 False Claims Act
7 120 Marine 6 310 Airplane €) 365 Personal Injury - of Property 21 USC 881 |G 423 Withdrawal OF 400 State Reapportionment
0 130 Miller Act 0 315 Airptane Product Product Liability & 690 Other 28 USC 157 O 410 Antitrust
& 140 Negotiable Instrument Liability CF 367 Health Care/ O 430 Banks and Banking
& 150 Recovery of Overpayment | C} 320 Assault, Libel & Pharmaceutical sees i O 450 Commetce
& Enforcement of Judgment Slander Personal Injury CF 820 Copyrights G 460 Deportation
0 1S Medicare Act G 330 Federal Employers* Product Liability G 830 Patent 0 470 Racketeer Influenced and
GC 152 Recovery of Defaulted Liability & 368 Asbestos Personal 0 840 Trademark Corrupt Organizations
Student Loans 340 Marine Injury Product O 480 Consumer Credit
(Excludes Veterans} (7 345 Marine Product Liability g : SIS OCTAL: G 490 Cable/Sat TY
0 = 153 Recovery of Overpayment Liability PERSONAL PROPERTY | 710 Fair Labor Standards C) 861 HIA (1395E) C1 850 Securitics‘Commodities/
of Veteran's Benefits G 350 Motor ¥ehicle Ci 370 Other Fraud Act G 862 Black Lung (923) Exchange
C7 160 Stockholders’ Suits ©) 355 Motor Vehicle 0 375 Truth in Lending 6 720 Labor/Management CO) 863 DIWC/DIWW (405(2)) | CF 890 Other Statutory Actions
GO 190 Other Contract Product Liability C7 380 Other Personal Relations {7 864 SSID Title XVI O 891 Agriculturad Acts
CO 195 Coatract Product Liability |G 360 Other Personat Property Damage 0 740 Railway Labor Act CF 865 RS] (405(g)) O 893 Environmental Matters
QO 196 Franchise Injury (F 385 Property Damage QO 751 Family and Medical (895 Freedom of Information
O 362 Personal Injury - Product Liability Leave Act Act
Medical Malpractice 0 790 Other Labor Litigation G 896 Arbitration
EAT PROPERTY 22888 960 CIVIEFRIGHTS PRISONER PE TEFIONS:| (1 791 Employee Retirement SR EDERAESTAX:SUITS:22| (1) 899 Administrative Procedure
O 210 Land Condemnation M1 440 Other Civil Rights Habeas Corpus: Income Security Act CG 870 Taxes (U.S. Plaintiff Act/Revicw or Appeal of
G 220 Foreclosure 0 441 Voting G 463 Alien Detainee or Defendant) Agency Decision
0) 230 Rent Lease & Ejectment CG 442 Employment G 310 Motions to Vacate OF 871 IRS—Third Party O 950 Constitutionality of
G 240 Torts to Land O 443 Housing! Sentence 26 USC 7609 State Statutes
O 245 Tort Product Liabitity Accommodations 1 530 General
CJ 290 All Other Real Property 0 445 Amer. w/Disabilities ~| CO) 535 Death Penalty 2 AMMIGRATION£¢2:3"
Employment Other: 0 462 Naturalization Apptication
0 446 Amer. w/Disabilitics -| 540 Mandamus & Other |O 465 Other Immigration
Other O 550 Civil Rights Actions
GD 448 Education 0 555 Prison Condition
CJ 560 Civil Detainees -
Conditions of
Confinement

 

 

 

 

 

 

¥Y. ORIGIN (Place aa °X” in One Box Only)

O1 Original {2 Removed from
Proceeding State Court

0 3

VI. CAUSE OF ACTION

 

VII. REQUESTED IN

Remanded from im

Appellate Court

Brief description of cause:

4 Reinstated or
Reopened
(specify)

Civil Rights Violation under 42 U.S.C. Sec 1983

(J CHECK IF THIS IS A CLASS ACTION

DEMANBS

O15 Transferred from = © 6 Mulltidisirict
Another District

Litigation

Cite the U.S. Civil Statute under which you are Filing (Da nos cite jurisdictional statutes untess diversity).

42 U.S.C. Sec. 1983

CHECK YES only if demanded in complaint:

 

 

 

 

 

COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURYDEMAND: Yes G9 No
VIH. RELATEDCASE(S)
IF ANY (See instructions): JUDGE DOCKET NUMBER
DATE SIGN pee OF ATTORNEY OF RECORD
4[\5{r01% AK Tf
FOR OFFICE USE ONLY ° #
RECEIPT # AMOUNT APPLYENG IFP JUBGE MAG, JUDGE
Case 2:13-cv-02008-MMB Document1 Filed 04/16/13 Page 2 of 37

IN THE UNITED STATES DISTRICT COURT FOR
THE EASTERN DISTRICT OF PENNSYLVANIA

 

James Porter
121 Knollwood Lodge Rd
Hot Springs, AR 71913

and
Marilynn Sankowski
13 S. Four Season Road
West Palm Beach, FL 33410

Plaintiffs
V.

City of Philadelphia
1515 Arch St., 14"" Floor
Philadelphia, PA 19102

and
Barbara Deeley, individually and in her
officia] capacity as the Sheriff of the City
& County of Phila.
c/o City of Philadelphia
1515 Arch Street, 14" Floor
Philadelphia, PA 19102

and
Daryll Stewart, individually and in his
official capacity in the City and &
County of Philadelphia
c/o City of Philadelphia
1515 Arch Street, 14"" Floor
Philadelphia, PA 19102

and
Ed Chew, individually and in his official
Capacity as counsel for the City &
County of Philadelphia
c/o City of Philadelphia
1515 Arch Street, 14" Floor
Philadelphia, PA 19162
and

William Bengochea, individually
and in His official capacity as a Sheriff
in the City and County of Phila.
c/o City of Philadelphia
1515 Arch Street, 14" Floor
Philadelphia, PA 19102

and
Guerino Busillo, individually and in his
official capacity as a Sheriff in the City
& County of Phila.
c/o City of Philadelphia
1515 Arch St, 14" Floor
Philadelphia, PA 19102

and

Civil Action

NO:

Formerly

Court of Common Pleas
Philadelphia County
Trial Division — Civil
December Term 2012
No. 003214
Case 2:13-cv-02008-MMB Document1 Filed 04/16/13 Page 3 of 37

James MeCarrie, individually and in his
official capacity as a Sheriff in the City &
County of Philadelphia
c/o City of Philadelphia
1515 Arch St., 14" Floor
Phila., PA 19102

and
Angellinel Brown, individually and in her
official capacity as a Sheriff in the City &
County of Phila.
c/o City of Philadelphia
1515 Arch St., 14" Floor
Phila., PA 19102

and
Paris Washington, individually and in her
official capacity as a Sheriff in the City &
County of Phila.
c/o City of Philadelphia
1515 Arch St., 14" Floor
Philadelphia, PA 19102

Defendants

NOTICE OF REMOVAL

To the Honorable Judges of the United States District Court for the Eastern District of
Pennsylvania.

Pursuant to 28 U.S.C. § 1441, defendants, City of Philadelphia, Barbara Deeley, Daryll
Stewart, Ed Chew, William Bengochea, Guerino Busillo, James McCarrie, Angelinel Brown, and
Paris Washington (hereinafter “petitioners”) through their counsel, Anne B. Taylor, Assistant
City Solicitor, respectfully petition for the removal of this action to the United States District
Court for the Eastern District of Pennsylvania. In support thereof, defendants state the following:

1. In December 2012, plaintiff initiated this action by a Complaint in the Court of
Common Pleas in Philadelphia, December 2012, No. 003214. (Exhibit A - Complaint).

2. On March 21, 2013, said Complaint was served on Petitioners at 1515 Arch Street,
14th Floor, Philadelphia, Pennsylvania.

3. Plaintiff alleges that on January 4, 2011, they sustained damages when their civil
rights were violated by the defendants. (Exhibit A ).

4. This action may be removed to this Court pursuant to 28 U.S.C. § 1441 since
Plaintiff's Complaint contains allegations of violations of the plaintiff's Federal Civil Rights and
Case 2:13-cv-02008-MMB Document1 Filed 04/16/13 Page 4 of 37

seeks relief under 42 U.S.C. § 1983. (Exhibit A)

Wherefore, petitioners, City of Philadelphia, Barbara Deeley, Daryll Stewart, Ed Chew,
William Bengochea, Guerino Busillo, James McCarrie, Angeline] Brown, and Paris Washington,

respectfully request that the captioned Complaint be removed to the United States District Court
for the Eastern District of Pennsylvania.

Respectfully submitted,

Craig Straw
Chief Deputy City Solicitor

CA4 ly

ANNE B. TAYLOR
Assistant City Solicitor
Attorney I.D. No. 206057
1515 Arch Street, 14" Floor
Philadelphia, PA 19102
215-683-5447

Date: [5 [2213
Case 2:13-cv-02008-MMB Document1 Filed 04/16/13 Page 5 of 37

IN THE UNITED STATES DISTRICT COURT FOR
THE EASTERN DISTRICT OF PENNSYLVANIA

 

James Porter
121 Knollwood Lodge Rd
Hot Springs, AR 71913

and
Marilynn Sankowski
13 8, Four Season Road
West Palm Beach, FL 33410

Plaintiffs
Vv.

City of Philadelphia
1515 Arch St., 14" Floor
Philadelphia, PA 19102

and
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official capacity as the Sheriff of the City
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c/o City of Philadelphia
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Philadelphia, PA 19102

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and

Civil Action

NO:

Formerly

Court of Common Pleas
Philadelphia County
Trial Division ~ Civil
December Term 2012
No. 003214
Case 2:13-cv-02008-MMB Document1 Filed 04/16/13 Page 6 of 37

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Phila., PA 19102

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c/o City of Philadelphia
1515 Arch St., 14" Floor
Phila., PA 19102

and
Paris Washington, individually and in her
official capacity as a Sheriff in the City &
County of Phila.
c/o City of Philadelphia
1515 Arch St., 14" Floor
Philadelphia, PA 19102

Defendants

NOTICE OF FILING OF REMOVAL

TO: Brian J. Zeiger, Esquire
123 South Broad St., Suite 1200
Philadelphia, PA 19109

PLEASE TAKE NOTICE THAT on April 16, 2013, defendants, City of
Philadelphia, Barbara Deeley, Daryli Stewart, Ed Chew, William Bengochea, Guerino Busillo,
James McCarrie, Angelinel Brown, and Paris Washington, filed, in the office of the Clerk of the
United States District Court for the Eastern District of Pennsyivania a verified Notice of

Removal.
A copy of this Notice of Removal is attached hereto and is also being filed with the Clerk

of the Court of Common Pleas of Philadelphia County, pursuant to Title 28, United States Code,

Section 1446(e).
bnvne. ma
ANNEB. TAYLO
Assistant City LO8
Attorney I.D. No. 206057
City of Philadelphia Law Department
1515 Arch Street, 14" Floor

Philadelphia, PA 19102
215-683-5447
Case 2:13-cv-02008-MMB Document1 Filed 04/16/13 Page 7 of 37

IN THE UNITED STATES DISTRICT COURT FOR
THE EASTERN DISTRICT OF PENNSYLVANIA

 

James Porter
121 Knollwood Lodge Rd
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and
Marilynn Sankowski
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Plaintiffs
V.

City of Philadelphia
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and
Guerino Busillo, individually and in his
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c/o City of Philadelphia
1515 Arch St., 14" Floor
Philadelphia, PA 19102

and

Civil Action

NO:

Formerly

Court of Common Pleas
Philadelphia County
Trial Division — Civil
December Term 2012
No. 003214
Case 2:13-cv-02008-MMB Document1 Filed 04/16/13 Page 8 of 37

James McCarrie, individually and in his
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c/o City of Philadelphia
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Phila., PA 19162

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County of Phila.
c/o City of Philadelphia
1515 Arch St., 14" Floor
Phila., PA 19102

and
Paris Washington, individually and in her
official capacity as a Sheriff in the City &
County of Phila,
c/o City of Philadelphia
1515 Arch St., 14" Floor
Philadelphia, PA 19102

Defendants

CERTIFICATE OF SERVICE

I, Anne B. Taylor, Assistant City Solicitor do hereby certify that a true and correct copy

of the attached Notice of Removal has been served upon the following by First Class Mail,

postpaid, on the date indicated below:

TO: Brian J. Zeiger, LLP

123 South Broad St., Suite 1200

Philadelphia, PA 19109

Date: 4 | S| LIS

CAA Gn

Anne B. Taylor

Assistant City  sheitor

City of Philadelphia Law Department
1515 Arch Street, 14" Floor
Philadelphia, PA 19102
215-683-5447
Case 2:13-cv-02008-MMB Document1 Filed 04/16/13 Page 9 of 37

Exhibit “A”
Case 2:13-cv-02008-MMB Document1 Filed 04/16/13 Page 10 of 37

SoA)

LEVIN & ZEIGER, LLP ATTORNEY FOR PLAINTIFFS
BY BRIAN J. ZEIGER, ESQUIRE
IDENTIFICATION NO.: 87063

123 SOUTH BROAD STREET

SUITE 1200

PHILADELPHIA, PENNSYLVANIA 19109
215.825.5183

 

 

JAMES PORTER . :
121 Knollwood Lodge Rd. : DECEMBER TERM, 2012
Hot Springs, AR 71913; and :
No. 3214
MARILYNN SANKOWSKI
13 8. Four Season Road
West Palm Beach, FL 33410;

Plaintiffs,
v.

CITY OF PHILADELPHIA
1515 Arch Street, 16% Floor 0+
Philadelphia, PA 19103, and

BARBARA DEELEY, individually and
in His Official Capacity as

the Sheriff of the City and County
of Philadelphia

c/o City of Philadelphia

1515 Arch Street, 16° Floor
Philadelphia, PA 19103, and

DARYLI STEWART, individually and
in His Official Capacity

in the City and County of
Philadelphia

cfo City of Philadelphia

1515 Arch Street, 16° Floor
Philadelphia, PA 19103, and

ED CHEW, individually and in his
official capacity as counsel for
the City and County of
Philadelphia

c/o City of Philadelphia

Case ID: 124203214
 

Case 2:13-cv-02008-MMB Document1 Filed 04/16/13

1515 Arch Street, 16th Floor
Philadelphia, PA 19103, and

WILLIAM BENGOCHEA, individually
and in His Official Capacity as a

Philadelphia

c/o City of Philadelphia

1515 Arch Street, 16% Floor 0\
Philadelphia, PA 19103, and

c/o City of Philadelphia v
1515 arch Street, 16° Piso, 0
Philadelphia, PA 19103, and

JAMES MCCARRIE, individually and
in His Official Capacity as a

Philadelphia

c/o City of Philadelphia
1515 Arch Street, 16 Floor
Philadelphia, PA 19103, ang

ANGELLINEL BROWN, individually
and in Their Official Capacity as
a Sheriff

in the City and County of
Philadelphia ot
c/o City of Philadelphia

1515 Arch Street, 16% Floor
Philadelphia, PA 19103, and

PARIS WASHINGTON, individually and
in Their Official Capacity as a
Sheriff in the City and County of
Philadelphia

c/o City of Philadelphia ok
1515 Arch Street, 16% Floor
Philadelphia, PA 19103,

Defendants.

oe

Page 11 of 37

Case ID: 121203214

 

 
Case 2:13-cv-02008-MMB Document1 Filed 04/16/13 Page 12 of 37

NOTICE TO DEFEND

NOTICE
You have been sued in court.
defend against the claims set
following pages,

Tf you wish to
forth in the
you must take action within

twenty (20) days after the complaint and
notice are served, by entering a written
appearance personally or by attorney and

filing in writing with the court your defenses
or objections to the claims set forth against
you. You are warned that if you fail to do soe
the case may proceed without you and a
judgment may be entered against you by the
court without further notice for any money
claimed in the complaint or for any other
claim or relief requested by the plaintiff.
You may lose money or property or other rights
important to you.

YOU SHOULD TAKE THIS PAPER TO YOUR LAWYER AT
ONCE. IF YOU DO NOT HAVE A LAWYER OR CANNOT
AFFORD ONE, GO TO OR TELEPHONE THE OFFICE SET
FORTH BELOW TO FIND OUT WHERE YOU CAN GET
LEGAL HELP.

PHILADELPHIA BAR ASSOCIATION

Referral

Lawyer and

Service

Information

1101 Market Street, 11th Floor

Philadelphia, Pennsylvania 19107
(215) 238-1701

AVISO

Le han demandado a usted en la corte. Si
usted quiere defenderse de sstas demandas
expuestas en las paginas siguientes, usted
tiene veinte (20} dias de plazo al partir de
ia fecha de la demanda y la notificacién. Hace
falta asentar una comparencia escrita o en
persona Oo con un abogado y entregar a la corte
en forma escrita sus defensas o sus objeciones
a las demandas en contra de su persona. Sea
avisado que si usted no se defiende, la corte
tomara medidas y puede continuar la demanda en
contra suya sin previo aviso o notificacién.
Ademas, la corte puede decidir a favor del
demandante y requiere que usted cumpla con
todas las provisiones de esta demanda. Usted
puede perder dinere o sus propiedades u otros
derechos importantes para usted.

LLEVE ESTA DEMANDA A UN ABOGADO INHEDIATA-
MENTE. SI NO TIENE ABOGADO O SI NO TIENE EL
DINERO SUFICIENTE OR PAGAR TAL SERVICIO, VAYA
EK PERSONA O LLAME POR TELEFONO A LA OFICINA
CUYA DIRECCION SE ENCUENTRA ESCRITA ABAJO PARA
AVERIGUAR DONDE SE PUEDE CONSEGUIR ASISTENCIA
LEGAL.

ASOCTACION DE LICENCIADCS DE FILADELFIA

Servicio De
Informacién Legal

Referencia E

1101 Market Street, llth Floor
Filadelfia, Pennsyivania 19107

(215) 239-1701

Case ID: 12)205214
t

LEVIN & ZEIGER, LLP

BY BRIAN J. ZEIGER, ESQUIRE
IDENTIFICATION NO.: 87063

123 SOUTH BROAD STREET

SUITE 1200

PHILADELPHIA, PENNSYLVANIA 19109
215.825.5183

 

JAMES PORTER
121 Knoliwood Lodge Rd.
Hot Springs, AR 71913; and

MARTLYNN SANKOWSKI
13 8. Four Season Road
West Palm Beach, FL 33410;

Plaintiffs,
Vi.

CITY OF PHILADELPHIA
1515 Arch Street, 16 Floor
Philadelphia, PA 19103, and

BARBARA DEELEY, individually and
in His Official Capacity as

the Sheriff of the City and County
of Philadelphia

efo City of Philadelphia

1515 Arch Street, 16° Floor
Philadelphia, PA 19103, and

DARYLL STEWART, individually and
in His Official Capacity

in the City and County of
Philadelphia

c/o City of Philadelphia

1515 Arch Street, 16° Floor
Philadelphia, PA 19103, and

ED CHEW, individually and in his
official capacity as counsel for
the City and County of
Philadelphia

c/o City of Philadelphia

Case 2:13-cv-02008-MMB Document1 Filed 04/16/13 Page 13 of 37

ATTORNEY FOR PLAINTIFFS

DECEMBER TERM, 2012

No.

3214

Case ID: 121203214
Case 2:13-cv-02008-MMB Document1 Filed 04/16/13

1515 Arch Street, 16° Floor
Philadelphia, PA 19103, and

WILLTAM BENGOCHEA, individually
and in His Official Capacity as a
Sheriff in the City and County of
Philadelphia

c/o City of Philadelphia

1515 Arch Street, 16 Floor
Philadelphia, PA 19103, and

GUERINO BUSILLO, individually and
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Philadelphia

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1515 Arch Street, 16™ Floor
Philadelphia, PA 19103, and

JAMES MCCARRIE, individually and
in His Official Capacity as a
Sheriff in the City and County of
Philadelphia

c/o City of Philadelphia

1515 Arch Street, 16° Floor
Philadelphia, PA 19103, and

ANGELLINEL BROWN, individually

and in Their Official Capacity as

a Sheriff :
an the City and County of :
Philadelphia

c/o City of Philadelphia

1515 Arch Street, 16™ Floor
Philadelphia, PA 19103, and

PARIS WASHINGTON, individually and
in Their Official Capacity as a
Sheriff in the City and County of
Philadelphia

e/o City of Philadelphia

1515 Arch Street, 16 Floor
Philadelphia, PA 19103,

Defendants.

 

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Case ID: 121203214
Case 2:13-cv-02008-MMB Document1 Filed 04/16/13 Page 15 of 37

CIVIL ACTION COMPLAINT

Plaintiff, by and through his attorney Brian J. Zeiger,

BSq., hereby alleges the following:
PARTIES

1. At ali times relevant hereto the Plaintiff James
Porter is an aduit individual who is a resident of Arkansas.

2. At ali times relevant hereto the Plaintiff Marilynn
Sankowski is an adult individual who is a resident of Florida.

3, At all times relevant hereto the Defendant City of
Philadelphia, is a municipal government agency organized under
the laws of the Commonwealth of Pennsylvania with a principal
and central office Of business located at 1515 Arch Street, 16th
Floor, Philadelphia, PA 19103,

4, At all times relevant hereto, Defendants Barbara
Deeley (hereinafter “Deeley”), Daryil Stewart, Ed Chew, William
Bengochea, Guerine Busillo, James Mccarrie, Angellinei Brown,
Paris Washington are believed to be adult citizens, being sued
in their official and individual capacities with principal and
central office of business located at 1515 Arch Street, 16th
Floor, Philadelphia, PA 19103.

5. At all times material hereto, the Defendant City of

Philadelphia acted through its agents, servants, council

memoers, workmen and/or employees, specifically the City's

Case 1D: 121203214
Case 2:13-cv-02008-MMB Document1 Filed 04/16/13 Page 16 of 37

Sherriff's Department in the furtherance of its legislative
mandate.

6. At all times material hereto, the sheriffs in question
acted under color of law and within the course and scope of
their employment, pursuant to their customs, policies,
Practices, ordinances, regulations, directives specifically for
and of the City of Philadelphia, Sheriff's Department in the

furtherance of its legislative mandate.

FACTUAL BACKGROUND

7. On or about January 4, 2011, Plaintiffs were lawfuily
present at or near 3801 Market Street, Philadelphia, PA at or
about 8:30 a.m.

8. Plaintiffs were at 3801 Market Street, Philadelphia,
PA, due to a sheriff's sale of real property.

9. Plaintiff Porter's family had a legal interest in a
property that was being put up for sale.

10. When the sale of Plaintiff Porter's property began,
Plaintiff Porter, stood to announce the title of said property
Was not Clear.

il. Plaintiff Porter was exercising his right to speech.

i2. The Defendants attacked Plaintiff Porter.

13. The Defendants used a stun gun or taser on Plaintiff

Porter,

Case ID: 12120

4
4

214
Case 2:13-cv-02008-MMB Document1 Filed 04/16/13 Page 17 of 37

14. The Defendants punched, caused positional asphyxiation

and hit Plaintiff Porter.

—

15. The Defendants falsely arrested Plaintiff Porter.

16. Defendant Chew attacked Plaintiff Sankowski.

i7. Defendant Chew punched, tackled, and grabbed
forceably, man handied, by jerking shoulder of Plaintiff

Sankowski.

18. After the attack, both Plaintiffs required extensive
medical treatment.

19. After Plaintiff Sankowski went to the Philadelphia
Policé in an attempt to have Defendant Chew arrested the

assault.

20. Defendant Chew was never arrested for the assault due
tO an attempted cover~up.

2i. The aforementioned acts and conduct of the Defendants
and/or the aforementioned conduct their employees and agents
were a factual cause of the harm and damages sustained by the
Plaintiffs. In the alternative, the aforementioned acts and
conduct of the Defendants and/or the aforementioned conduct of
their employees and agents was the direct and proximate cause of
the harm and damages sustained by the Plaintiffs,

22. The aforementioned acts and conduct of the Defendants

and the aforementioned conduct of their employees and agents

Case 1D: 121203214
Case 2:13-cv-02008-MMB Document1 Filed 04/16/13 Page 18 of 37

were a factual cause and the direct and proximate cause of at
least the following harm and damages sustained by Plaintiffs:

A. Injuries, dysfunctions, impairments, serious
impairments of body or bodily functions, pain and trauma to

various parts of the body and psyche, some or all of which are

permanent including:

e Physical injuries to various parts of the body

including the shoulder, back and neck;
* Permanent Neurological Disability;
* Trauma and distress;
® Flashbacks;
e Psychiatric injuries;
° Emotional injuries;
® Pain and suffering;
* Emotional distress;
* Mental anguish and distress;
* Humiliation and embarrassment; and

* Other injuries, the full extent of which is not
yet known.

B. Loss or reduction of earnings and/or earning
capacity and/or household services from the date of the injuries
to the date of the trial of this case including the increases in
wages or compensation that Plaintiffs would have received had
Plaintiffs not sustained the injuries in this occurrence.

Cc. Loss or reduction earnings and earning capacity

and/or household services from the date of the triai of this

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case until Plaintiffs' death and work life span including the
increases in wages or compensation that Plaintiffs would have
received had Plaintiffs not sustained the injuries in this
occurrence.

D. Medical expenses of Plaintiffs related to or
caused by the occurrence from the date of injury to the date of
the trial of this case.

E. Medical expenses that Plaintiffs will incur after
the trial of this case until Plaintiffs' death related to or
caused by the occurrence.

F. Pain and suffering that Plaintiffs has endured
from the date of the injury to the date of the trial of this
case.

G. Pain and suffering that Plaintiffs will endure
from the date of the injury to the date of Plaintiffs' death.

H. Embarrassment and humiliation that Plaintiffs
nave endured from the date of the injury to the date of the
trial of this case.

I. Embarrassment and humiliation that Plaintiffs
will endure from the date of the trial of this case to the date
of Plaintiffs' death.

J. Loss of ability to enjoy the pleasures of life
that Plaintiffs have endured from the date of the injury to the

date of the trial of this case.

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K. Loss of ability to enjoy the pleasures of life
that Plaintiffs will endure from the date of the trial of this

case to the date of Plaintiffs' death.

L. Attorney Fees.

M. Incidental costs.
N. Property damage.

QO. Loss of liberty.

23. Defendants’ actions were wilful and outrageous in that

their motives and conduct as set forth above were malicious,

wanton, reckless, oppressive and so egregious as to shock

contemporary conscience.

COUNT I
VIOLATION OF 42 U.S.C. § 1983
PLAINTIFES v. DRFENDANTS
Plaintiffs alleges each and every allegation contained in
paragraphs 1 - 23 of this Complaint and incorporates them herein
by reference as if the same were set forth at length.

24. Defendants’ actions, were taken under colour of state
law, are state actions under 42 U.S.C. sec. 1983, and have
deprived Plaintiffs of their rights, privileges and/or
immunities secured by the Constitution and laws of the United

States including his right to be free from false arrest, false

imprisonment and excessive force.

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29. Defendants’ actions were undertaken as part of the
execution of a custom, policy, and/or practice that violated
Plaintiffs' civil rights.

26. Defendants’ actions have violated, and unless enjoined
will continue te violate, Plaintiffs' constitutionally protected
rights of freedom of speech and association, substantive and
procedural Due Process, and Equal Protection. The Defendants
also violated his constitutional rights by using excessive force
and arresting him without probable cause under the Fourth and
Fourteenth Amendments of the United States Constitution.

27. The Plaintiffs have the right to be secure in his
persons, houses, papers and effects, against unreasonable
searches and seizures, and this right was violated, as no
warrants were issued upon probable cause or supported by Oath or
affirmation or particularly describing the place to be searched,
and the persons or things to be seized, as protected under the
Fourth and Fourteenth Amendments of the United States
Constitution.

28. On information and belief, the aforesaid actions of
Defendants were taken intentionally, willfully and/or with
deliberate indifference to, or reckless disregard for, the
rights secured to Plaintiffs. Defendants’ actions as stated
herein denied his equal protection of the law in violation of

the United States Constitution, the Fourth Amendment, the Due

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Process Clause, and Substantive Due Process rights of the
Fourteenth Amendment, and 42 U.S.C. Section 1983.

29. Defendants’ actions as stated herein denied
Piaintiffs' right to due process in violation of the United
States Constitution, the Fourth Amendment, the Dune Process
Clause of the Fourteenth Amendment, and 42 U.S.C. Section 1983.

30. Defendants’ actions were a factual cause of and/or
caused Plaintiff’s substantial damages and harm. (See above).

WHEREFORE, Plaintiffs demands judgment against Defendants
for such sums as would reasonably and properly compensate them
for injuries in an amount in excess of Two Million
($2,000,000.00) Dollars together with delay damages, interest,

costs and attorneys’ fees and punitive damages (but no punitive

damages against Defendant Philadelphia).
COUNT IIT -

MONELL CLAIM UNDER 42 U.S.C. § 1983
PLAINTIFFS v. DEFENDANT PHILADELPHIA

Plaintiffs alleges each and every allegation contained in
paragraphs 1 - 30 of this Complaint and incorporates them herein
by reference as if the same were set forth at length.

31. The Plaintiffs believe and therefore aver that
Defendant Philadelphia, has adopted and maintained for many
years a recognized and accepted policy, custom and/or practice
of condoning and/or acquiescing in denying free speech, equal

protection of the law, condoning excessive force, false arrest,

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and subjecting its citizens to the same type of treatment ta
which Plaintiff was subjected. Said policies, customs and
practices violate the First, Fourth and Fourteenth Amendments of
the Constitution of the United States as well as federal
statutory law and Pennsylvania law.

32. The Plaintiffs believe and therefore aver that the
Defendant Philadelphia, has adopted and maintained for many
years, a recognized and accepted policy, custom and/or practice
of systematically failing to properly train, investigate,
Supervise and discipline its employees, including the individual
Defendants, regarding individuals’ right to free Speech, equal
protection and to be free from being falsely arrested with
excessive force, which policy and/or custom and/or practice
violates the First, Fourth and Fourteenth Amendment of the
Constitution of the United States, the laws of the United States
and of the Commonwealth of Pennsylvania.

33. Defendant Philadelphia, has been deliberately
indifferent to the rights of its citizens to be given free
speech, equal protection of the law and not be subject to
excessive force, which deliberate indifference violates the
Plaintiff’s rights under the First, Fourth and Fourteenth
Amendments to the Constitution of the United States, the Laws of

the United States and of the Commonwealth of Pennsylvania.

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34. The Plaintiffs believe and therefore aver, that at all

material times, Defendant Philadelphia, knew or should have

known of the above described policy, custom and practice of the
Philadelphia Sheriff's Department, and that its Sheriffs engaged
in conduct that posed a pervasive and unreasonable risk of
constitutional injury to citizens like Plaintiffs, and that they
deliberately, knowingly and intentionally failed to take
measures to stop or limit the policy, custom and practice and
therefore acquiesced in, and were deliberately indifferent to,
the aforementioned unconstitutional conduct and policy.

35. By failing to take action to stop or limit the policy
and/or custom . and/or practice by remaining deliberately
indifferent to the systematic abuse which occurred in accordance
with and as a direct and proximate result of the policy,
Defendant Philadelphia condoned, acquiesced in, participated in,
and perpetrated the policy in violation of the Plaintiffs'
rights under the First, Fourth and Fourteenth Amendments to the
Constitution of the United States, the laws of the United States

and of the Commonwealth of Pennsylvania.

36. The conduct of Defendant Philadelphia and/or the

conduct of defendants’ employees or agents, including the

Sheriff, and/or policy maker for the Defendant Philadelphia,

were a factual cause of and/or the cause of the harm and damages

sustained by Plaintiffs. (See above}.

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WHEREFORE, Plaintiffs demands compensatory and punitive
damages against Defendants, for such sums as would reasonably
and properly compensate them for injuries in an amount in excess
of Two Million ($2,000,0006.00) Dollars tegether with delay

damages, interest, costs and attorneys’ fees.

COUNT III - EXCESSIVE FORCE
42 U.8.C, § 1983
PLAINTIFFS v. DEFENDANTS BARBARA DEELEY, DARYLL STEWART, ED
CHEW, WILLIAM BENGOCHEA, GUERINO BUSILLO, JAMES MCCARRIE,
ANGELLINEL BROWN, PARIS WASHINGTON

Plaintiffs allege each and every allegation contained in
paragraphs 1 - 36 of this Complaint and incorporates them herein

by reference as if the same were set forth at length.

37. Plaintiffs believe and therefore aver the force used
upon them was unnecessary and more force than was reasonable and
necessary under the circumstances.

38. Plaintiffs believe and therefore aver that Defendants,
acting in concert and conspiracy with each other, have by the
aforementioned actions deprived Plaintiffs of their
constitutional and statutory rights under the Fourth Amendment.

39. Defendants’ actions were a factual cause of and/or
caused Plaintiffs' substantial damages and harm. (See above).

WHEREFORE, Plaintiffs demands ‘Judgment against Defendants

for such sums as would reasonably and properly compensate them

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for injuries in an amount in excess of Two Million
{$2,000,000.00} Dollars together with delay damages, interest,

costs and attorneys’ fees and punitive damages.

COUNT IV -— ARREST WITHOUT PROBABLE CAUSE
42 U.S.C. § 1983
PLAINTIFF PORTER v. DEFENDANTS BARBARA DEELEY, DARYLI1, STEWART,
ED CHEW, WILLIAM BENGOCHEA, GUERINO BUSILLO, JAMES MCCARRIE,
ANGELLINEL BROWN, PARIS WASHINGTON

Plaintiff alleges each and every allegation contained in
Paragraphs 1 - 39 of this Complaint and incorporates them herein
by reference as if the same were set forth at length.

40. Plaintiff believes and therefore avers that he was
arrested without probable cause.

41. Plaintiff believes and therefore avers that
Defendants, acting in concert and conspiracy with each other,
have by the aforementioned actions deprived Plaintiff of his
Fourth Amendment, constitutional and statutory rights.

42. Defendants’ actions were a factual cause of and/or
caused Plaintiff’s substantial damages and harm. (See above).

WHEREFORE, Plaintiff demands compensatory and punitive
damages against Defendants, for such sums as would reasonably
and properly compensate him for injuries in an amount in excess
of Two Million ($2,000,000.00) Dollars together with delay

damages, interest, costs and attorneys’ fees and punitive

damages.

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COUNT V -— FIRST AMMENDMENT RIGHTS VIOLATION
42 U.5.C. § 1983
PLAINTIFE PORTER v. ALL DEFENDANTS
Plaintiff alleges each and every allegation contained in
Paragraphs 1 - 42 of this Complaint and incorporates them herein
by reference as if the same were set forth at length.

43. Plaintiff believes and therefore avers that his first
amendment right to speech was violated by the willful and
malicious actions of the Defendants.

44. Plaintiff believes and therefore avers that
Defendants, acting in concert and conspiracy with each other,
have by the aforementioned actions deprived Plaintiff of his
first amendment right to speech.

45. Defendants’ actions were a factual cause of and/or
caused Plaintiff's substantial damages and harm. (See above).

WHEREFORE, Plaintiff demands compensatory and punitive
damages against Defendants, for such sums as would reasonably
and properly compensate him for injuries in an amount in excess
of Two Million ($2,000,000.00) Dollars together with delay
damages, interest, costs and attorneys’ fees, punitive damages,

declaratory and injunctive relief.

COUNT VII - ASSAULT and BATTERY-STATE LAW CLAIM
PLAINTIFFS v. DEFENDANTS BARBARA DEELEY, DARYLL STEWART, ED
CHEW, WILLIAM BENGOCHEA, GUERINO BUSILLO, JAMES MCCARRIE,
ANGELLINEL BROWN, PARIS WASHINGTON

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Plaintiffs alleges each and every allegation contained in
paragraphs 1 - 45 of this Complaint and incorporates them herein
by reference as if the same were set forth at length.

46. The above~described actions of Defendants constitute a
battery because their intentional physical contact of touching
the Plaintiffs was harmful and offensive and gave the Plaintiffs
reason to fear immediate bodiiy harm, and, in fact, caused
bodily harm.

47, Plaintiffs believe and therefore aver that Defendants,
acted willfully and maliciously within the course and scope of
their authority, wrongfully and unlawfully assaulted and
battered the Plaintiffs, as more particularly described above
supra.

48. Plaintiffs specifically complain of the conduct
Defendants in menacing, threatening, harassing and physically
abusing them, all of which placed him in imminent fear of bodily
harm.

49. The above-described actions of Defendants placed the
Plaintiffs in the reasonable fear of imminent bodily harm and
resulted in the Plaintiffs being unlawfully and improperly
assaulted against their will.

20. Defendants' malicious, intentional and/or reckless

actions were a factual cause of and/or caused Plaintiffs!

substantial damages and harm. (See above).

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Sl. The above-described actions of Defendants were so
Malicious, intentional, and reckless and displayed such a
reckless indifference to the Plaintiffs' rights and well-being,
that the imposition of punitive damages is warranted.

WHEREFORE, Plaintiffs demands compensatory and punitive
damages against Defendants for the common law tort of assault
and battery, for such sums as would reasonably and properly
compensate them for injuries in an amount in excess of Two
Million ($2,000,000.00} Dollars together with delay damages,

interest, costs, and punitive damages.

COUNT VIII - FALSE ARREST—STATE LAW CLAIM
PLAINTIFF PORTER v. DEFENDANTS BARBARA DEELEY, DARYLL STEWART,
ED CHEW, WILLIAM BENGCOCHEA, GUERINO BUSILLO, JAMES MCCARRIE,
ANGELLINEL BROWN, PARIS WASHINGTON
Plaintiff alleges each and every allegation contained in
paragraphs 1 - 51 of this Complaint and incorporates them herein
by reference as if the same were set forth at length.

32. Plaintiff believes and therefore avers that Defendants
through their actions, as more fully set forth in the preceding
paragraphs of this complaint, did intentionally falsely arrest
Plaintiff.

53. The above-described malicious, intentional, willful

acts of Defendants were outrageous, atrocious, and completely

Case (1D: 121203214
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intolerable in a civilized society and went beyond all

bounds of decency.

possible

24. The malicious, intentional and/or reckless actions of

Defendants were a factual cause of and/or caused the Plaintiff's

injuries and harm that are described above. {See above}.

95. The above-described actions of Defendants
malicious and intentional and GQisplayed such a
indifference to the Plaintiff's rights and well-being,
imposition of punitive damages is warranted.

WHEREFORE, Plaintiff demands compensatory and
Gamages against Defendants for the common law tort
arrest, for such sums as would reasonably and
compensate his for injuries in excess or Two
($2,000,000.00) Dollars together with delay damages,

costs and punitive damages.

COUNT IX ~ FALSE IMPRISONMENT—STATE LAW CLAIM

were so
reckless

that the

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Million

interest,

PLAINTIFF PORTER v. DEFENDANTS BARBARA DEELEY, DARYLL STEWART,
ED CHEW, WILLIAM BENGOCHEA, GUERINO BUSILLO, JAMES MCCARRIE,

ANGELLINEL BROWN, PARIS WASHINGTON

Plaintiff alleges each and every aliegation contained in

paragraphs 1 - 55 of this Complaint and incorporates them herein

by reference as if the same were set forth at length.

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96. Plaintiff believes and therefore avers that Defendants
through their actions, as more fully set forth in the preceding
Paragraphs of this complaint, did intentionally falsely imprison
Plaintiff.

27. The above-described malicious, intentional, willful
acts of Defendants were outrageous, atrocious, and completely
intolerable in a civilized society and went beyond all possible
bounds of decency.

S98. The malicious, intentional and/or reckless actions of
Defendants were a factual cause of and/or caused the Plaintiff's
injuries and harm that are described above. (See above).

29. The above-described actions of Defendants were so
malicious and intentional and displayed such a reckless
indifference to the Plaintiff's rights and well-being, that the
imposition of punitive damages is warranted.

WHEREFORE, Plaintiff demands compensatory and punitive
damages against Defendants for the common law tort of false
imprisonment, for such sums as would reasonably and properly
compensate his for injuries in excess of Two Million

($2,000,000.00) together with delay damages, interest, costs and

punitive damages.

COUNT X~ MALICIOUS PROSECUTTON—STATE LAW CLAIM

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PLAINTIFF PORTER v. DEFENDANTS BARBARA DEELEY , DARYLL STEWART,
ED CHEW, WILLIAM BENGOCHEA, GUERINO BUSILLO, JAMES MCCARRIE,
ANGELLINEL BROWN, PARTS WASHINGTON

The allegations contained in Paragraphs 1-59 above are

incorporated by reference as through fully set forth herein.
60. The actions and conduct of defendants alleged above
constitute and resulted in the false arrest of Plaintiff under

the laws of the Commonwealth of Pennsyivania.

61. The actions and conduct of defendants constitute and
resulted in the malicious prosecution of Plaintiff under the
laws of the Commonwealth of Pennsylvania.

62. As a direct and proximate resuit of the Defendants’
actions, Plaintiff suffered and continues to suffer physical
pain and suffering, serious mental anguish, psychological and
emotional distress, fear, anxiety, embarrassment, loss of

liberty, confinement, and the loss of the enjoyment of life all

to his great detriment and loss.

63. As a direct and proximate result of the aforementioned
willful act and conduct of the defendants, Plaintiff has
incurred other financial expenses to which he may otherwise be
entitled to recover.

WHEREFORE, Plaintiff demands compensatory and punitive

damages against Defendants, for such sums as wouid reasonably

anc properly compensate him for injuries in excess of Two

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Case 2:13-cv-02008-MMB Document1 Filed 04/16/13 Page 33 of 37

Million ($2,000,000.00) Doliars together with delay damages,

interest, costs and punitive damages

COUNT XI - CIVIL CONSPIRACY—-STATE LAW CLAIM
PLAINTIFFS v. DEFENDANTS BARBARA DEELEY, DARYLL STEWART, ED
CHEW, WILLIAM BENGOCHEA, GUERINO BUSILLO, JAMES MCCARRTE,
ANGELLINEL BROWN, PARIS WASHINGTON
Plaintiffs alleges each and every allegation contained in
paragraphs 1 - 63 of this Complaint and incorporates them herein
by reference as if the same were set forth at length.

64. Pliaintiffs believe and therefore aver that Defendants,
through their willful actions, as more Tully set forth in the
preceding paragraphs of this Complaint, did intentionally
conspire, while acting within the course and scope of their
authority, to assault and batter, unlawfuliy assault, arrest,
imprison and maliciously prosecute Plaintiff, which ultimately
caused Plaintiff substantial damages and harm.

65. Defendants civil conspiracy for their malicious,
intentional and/or reckless actions were a factual cause of
and/or caused Plaintiffs' substantial damages and harm. (See
above).

WHEREFORE, Plaintiffs demands compensatory and punitive

damages against Defendants, for such sums as would reasonably

and properly compensate them for injuries in excess of Two

Case 1): 121203214
Case 2:13-cv-02008-MMB Document1 Filed 04/16/13 Page 34 of 37

Million ($2,000,000.00) Dollars

interest,

BY:

tegether with delay damages,

costs and punitive damages.

Respectrfully submitted,

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LEVIN & aa LLP
BY: neve ZEIGER

IDENTIFICATION NO.: 87063
123 S. BROAD STREET, SUITE 1200

PHILADELPHIA, PENNSYLVANIA 19109
215.825.5183

zeiger@levinzeiger.com

Case ID: 124202

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iY
Verification

We, James Porter &( Marilyn Sankowski, hereby state that I

am the Plaintiff in this \action end verify that the statements.

Cava’ Com Pear eT mtd.
made in the foregoing de@emest are true and correct to the best

of my knowledge, information and belief as received from the
Plaintift. I also understand that the statements are made

subject to the penalties of 18 Pa. C.S.A. § 4904, relating to

unsworn falsification to authorities.

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Date James Porter
2 / RO | acts WMawbyze L hchyev he
Date

 

 

Marilyn Sankowski

Case ID:
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UNITED STATES DISTRICT COURT

FOR THE EASTERN DISTRICT OF PENNSYLVANIA — DESIGNATION FORM to be used by counsel (o indicate the category of the case for the purpose of
assignment to appropriate calendar.

Address of Plaintiff: _121 Knolhvood Lodge Rd. Hot Springs. AR 71913 & 13 S. Four Season Rd.. West Palm Beach. FL 33410
Address of Defendant: Law Department, 1515 Arch Street, 14" Floor, Philadetphia, PA 19102

Place of Accident, Incident or Transaction: Philadelphia, PA
(Use Reverse Side For Additional Space)

 

Does this civil action involve a nongovernmental corporate party with any parent corporation and any publicly held corporation owning [0% or more of its stock?

 

(Attach two copies of the Disclosure Statement Form in accordance with Fed.R.Civ,P, 7. E{a)). Yes O No
Does this case involve multidistrict litigation possibilities? Yes O No El
RELATED CASE IF ANY:

Case Number: Judge Date Terminated:

 

 

Civil cases are deemed related when yes is answered to any of the following questions:

1. Is this case related to property included in an earlier numbered suit pending or within one year previously terminated action in this court?
Yes O No Ed

2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit pending or within one year previously terminated
action in this court? Yes O No Ei

3. Does this case involve the validity or infringement of a patent already in suit or any earlier numbered case pending or within one year previously
terminated action in this court? Yes 0 No

 

CIVIL: (Place in ONE CATEGORY ONLY)

A. Federal Question Cases: B. Diversity Jurisdiction Cases:
1. (Indemnity Contract, Marine Contract, and All Other Contracts 1.{ Insurance Contract and Other Contracts
2. QO FELA 2. Airplane Personal Injury
3. (Jones Act— Personal Injury 3.(] Assault, Defamation
4. OO Antitrust 4.) Marine Personal Injury
5. ©) Patent 5.0] Motor Vehicle personal Injury
6. [ Labor-Management Relations 6. Other Personal Injury (Please specify)
7. Civil Rights 7.4) Products Liability
8 0) Habeas Corpus 8. Products liability - Asbestos
9. (1 Securities Act(s) Cases 9.0 All other Diversity Cases
10. (]) Social Security Review Cases (Please specify)
11. 1 All Other Federal Questions Cases (Please specify}

ARBITRATION CERTIFICATION

(Check appropriate Category)

I, Anne B. Taylor , counsel of record do hereby certify:

 

EC} Pursuant to Local Rule 53.3 A, civil rights cases are excluded from arbitration.

O Pursuant to Local Civil Rule 53,2, Section 3(c)(2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
exceed the sum of $150,000.00 exclusive of interest and costs;

G Relief other than monetary damages is sought,

DATE: 4/15/13 Anne B. Taylor 206057
Attorney-at-Law Attorney ILD. #

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

 

1 certify that, to my knowledge, the within case is not related to any case now pending or within one year previously terminated action in this court
except as noted above.

DATE: 4/15/13 (de P Lior 206037

Anne B. Taylor, Squire Attorney LD. #
CIV. 609 (4/03) Attorney-at-L
Case 2:13-cv-02008-MMB Document1 Filed 04/16/13 Page 37 of 37

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

James Porter & Marilynn Sankowski Civil Action
¥.
City of Phila., B. Deeley, D. Stewart, E. Chew, W. Bengochea
G. Busillo, J. MeCarrie, A. Brown & P. Washington
No.

CASE MANAGEMENT TRACK DESIGNATION FORM

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for plaintiff shall
complete a Case Management Track Designation Form in all civil cases at the time of filing the complaint and
serve a copy on all defendants. (See § 1:03 of the plan set forth on the reverse side of this form.) In the event that a
defendant does not agree with the plaintiff regarding said designation, that defendant shall, with its first appearance,
submit to the clerk of court and serve on the plaintiff and all other parties, a case management track designation
form specifying the track to which that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:
(a) Habeas Corpus -- Cases brought under 28 U.S.C. §2241 through § 2255. ( )

(b) Social Security -- Cases requesting review of a decision of the Secretary of Health
and Human Services denying plaintiff Social Security Benefits. ( 3}

(c) Arbitration -- Cases required to be designated for arbitration under Local Civil Rule 53.2. ( )

(d) Asbestos -- Cases involving claims for personal injury or property damage from
exposure to asbestos. ( )

(e) Special Management -- Cases that do not fall into tracks (a) through (d) that are
commonly referred to as complex and that need special or intense management by
the court. (See reverse side of this form for a detailed explanation of special!
management cases.) ( )

(f) Standard Management -- Cases that do not fall into any one of the other tracks. (X)

Anne B. Taylor, Esquire

 

 

4/15/12 City of Phila., et al.
Date Attorney-at-law Attorney for
(215) 683-5447 (215) 683-5397 anne.taylor@phila.gov
Telephone FAX Number E-mail Address

(Civ. 660) 10/02
